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 8                             UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10
11   RICHARD PERDUE III, et al.,                Case No.:    '21CV1478 W   DEB
12               Plaintiffs,                    NOTICE OF LODGMENT OF STATE
                                                COURT PLEADINGS FILED PRIOR TO
13         v.                                   REMOVAL
14   THE REGENTS OF THE UNIVERSITY O
     CALIFORNIA, et al.,
15
                 Defendants.
16
           TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD
17
           PLEASE TAKE NOTICE that copies of the following pleadings originally filed in
18
     the Superior Court of California, County of San Diego, Case No. 37-2020-00028645-CU-
19
     MM-CTL are hereby lodged with the Court:
20
     ROA # Date Filed Document                                   Page Numbers
21
     1-2     8/14/2020    Complaint & Civil Case Cover Sheet     3-18
22
     10-11 9/14/2020      Application and Order Appointing       19-22
23                        Guardian Ad Litem
24   12      9/14/2020    Original Summons                       23-25

25   15      2/3/2021     Answer filed by Amy Huong Tran         26-33
                          MD,; Jon J Roth MD,; Encinitas
26                        Hospitalist Associates Inc.
     21      3/1/2021     Answer filed by Mark Beyer PA;         34-42
27                        Nathalie Callahan PA
28   29      3/8/2021     Answer filed by The Regents of the     43-55
                          University of California.
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 1   35      4/2/2021     Stipulation and Order Regarding          56-60
                          Dismissal filed by Grunvald MD,
 2                        Eduardo L; Roderick MD, Elizabeth;
 3                        Grover MD, Ian; Cubas MD, Robert F;
                          The Regents of the University of
 4                        California; Perdue, Richard III; Miller-
                          Perdue, Kealani Marie; Miller-Perdue,
 5                        Kekoa Khailani; Miller-Perdue,
                          Khaielee Dalani.
 6
 7 DATED:        August 19, 2021                      Respectfully submitted,
 8
                                                      RANDY S. GROSSMAN
 9                                                    Acting United States Attorney
10                                                    s/ George Manahan
                                                      George Manahan
11                                                    Assistant United States Attorney
                                                      Email: george.manahan@usdoj.gov
12                                                    Attorneys for United States
13
14
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     NOTICE OF LODGMENT OF STATE COURT
                                              2
     PLEADINGS FILED PRIOR TO REMOVAL
                                         \
Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.10 Page 3 of 30
                                             \
                                                 \      "            ORtSINAL
    1    Richard M. Katz, Esq. (SBN 86941)
                Richard1i)katzl31voffices.com
    2    Harlan N. Petoyan, Esq. (SBN 272429)                                                    • ZDZO   AUG 11.J A 10= 3 ,
    3:
                Hnrlnn'irkatzlawofficcs.com
         THE LAW OFFICES OF RICHARD M. KATZ
                                                                     ~ f L E
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    6    Attorneys for Plaintiffs,
         RICHARD PERDUE III, KEALANI MARIE MILLER-PERDUE,
    7    KEKOA KHAILANI MILLER-PERDUE and KAIELEE DALANI MILLER-PERDUE
    8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
    9                                            FOR THE COUNTY OF SAN DIEGO
   10
   11
                                                            ~
         RICHARD PERDUE ill; KEALANI                                   CASE NO. 37-2020-00028645-CU-MM-CTL
         MARIE MILLER-PERDUE, a minor, by
   12    and through her Guardian Ad Litem,                               COMPLAINTFOR WRONGFULDEATII
   13

   14
         RICHARDPERDUEIIl, KEKOA
         KHAILANI MILLER-PERDUE, a minor,
         by and through his Guardian Ad Litem,
         RICHARD PERDUE III and KHAIELEE
                                                            l
                                                            )
                                                            )
                                                                     ,___ ~JriG'l{fcirv1 ~EDIC~

                                                                       [CC§ 1714, 3333, 3333.2]
                                                                                                  -                   .m..-
                                                                                                                      -<
         DALANI MILLER-PERDUE,                              )
   IS                                                       )
                                   Plaintiffs,              )
   16                                                       )
         vs.                                                )
   17                                                       )
         THE REGENTS OF THE UNIVERSITY                      )
   18    OF CALIFORNIA, legal entity, specific              )
         fonn unknown, UCSD / UC SAN DIEGO                  )
   19    HEALTH CENTER, legal entity, specific              )
         form unknown, SCRIPPS HEALTH                       )
   20    SYSTEM, a business entity, specific form           )
         unknown, ENCINITAS HOSPITALIST                     )
   21    ASSOCIATES, a legal entity, specific form          )
         unknown, VISTA COMMUNITY CLINIC,                   )
   22    a business entity, specific fonn unknown,          )
         MINH TRAN DAO, M.D., MARK C.                       )
   23    BEYER, P.A., AMY HUONG TRAN,                       )
         M.D., IAN GROVER M.D., JOYCLENE                    )
   24    GREEN,M.D.,ROBERTF. CUBAS,M.D.,                    ))
         JON J. ROTH, M.D., NATHALIE KARIN                  )
   25   CALLAHAN, P.A., ELIZABETH
        RODERICK, M.D., EDUARDO L.                          )
   26 - GRUNVALD; M.D., and DOES 1                          )
        through 100, inclusive,                             ~
   27

                                                            ~
                              Defendants.
   28


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                    COMPLAINT FOR WRONGFUL DEATH ARISING FROM MEDICAL NEGLIGENCE
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    1       COMES NOW Plaintiffs and allege as follows:
    2                   (WRONGFUL DEATH ARISING FROM MEDICAL NEGLIGENCE)
    3                                            Against All Defendants
    4       1.    That on August 22, 2019, ILENE MILLER-PERDUE (born August 1, 1979) deceased

    5             (hereinafterreferredtoas"DECEDENT"or"DECEDENTI. .MILLER-PERDUE")expired
    6             as a proximate result of the acts, omissions or vicarious liability of Defendants and each of
    7             the~. Decedent left surviving the following, who qualify under California Code of Civil
    8             Procedure Section 317.60 and California Probate Code Section 6402: RICHARD PERDUE
    9             ill(husband),KEALANlMARIEMILLER-PERDUE(daughter)aminorbyandthroughher
   10             Guardian Ad Litem, RICHARD PERDUE 111, KEKOA KHAILANI MILLER-PERDUE
   11 :;          (son) a minor by and through his Guardian Ad Litem, RICHARD PERDUE III and
        '
   12             KHAIELEE DAIANI MILLER-PERDUE (son), hereinafter at times collectively referred
   13             to as "Plaintiffs". Plaintiffs are informed and believe and thereon allege that pursuant to
   14             C.C.P. § 377.60 there are no other heirs or persons entitled to assert a wrongful death cause
   15             of action or claims.
   16       2.    At all times herein alleged, PlaintiffKEALANI MARIE MILLER-PERDUE, is a minor child
   17             born on June 29, 2004 and wili file ail application with this court to have her father/ legal
   18             guardian, RICHARD PERDUE III appointed as her guardian ad litem in this matter.
   19       3.    At all times herein alleged, PlaintiffKEKOA KHAILANI MILLER-PERDUE, is a minor
   20             child born on June 27, 2010 and will file an application with this court to have his father/
   21             legal guardian, RICHARD PERDUE mappointed as his guardian ad ]item in this matter.
   22       4.    Plaintiffs are and at all times herein mention were, residents of the County of San Diego,
   23              State of California.
   24       5.    Plaintiffs are informed and believe and thereon allege that Defendants and DOES l through
   25              100, inclusive, and each of them, at all times herein mentioned were, residents of the County

   26              of San Diego, State of California, and / o_r were doing business therein.
   27       6.     Plaintiffs are ignorant of the true names, capacities and identities, whether individual,
   28              corporate, associate or otherwise of DOES 1 through 100, inclusive, and each of them, who


                                                             2
                      COMPLAINT FOR WRONGFUL DEATH ARISING FROM MEDICAL NEGLIGENCE
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    1         therefore sue these DOE Defendants by such fictitious names for the reason that the true

   2          names and capacities of said Defendants are unknown to Plaintiffs at this time. When the

    3         true names and capacities of said Defendants are ascertained, Plaintiffs will ask leave of

    4         court to amen~ this Complaint to insert the true names, identities and capacities of said

    5         factiously-named Defendants, together with any additional allegations that may be necessary

    6         in regard thereto.    Plaintiffs are informed and beiieve .and thereon allege that each

    7         fictitiously-named Defendant sued herein was in some manner legally responsible, negligent

    8         or in some other actionable manner for the acts and occurrences hereinafter alleged and/ or

    9         was a substantial factor in causing Plaintiffs' injuries and damages as herein or hereinafter

   10         alleged.
   11    7.   At all times herein mentioned, Plaintiffs are informed and believe and thereon allege that
   12         each Defendant was the agent, servant, employee, ostensible agent, apparent age~t, assistant

   13         and / or consultant of each remaining Defendant, and was, as such, acting within the course

   14         and scope of said capacity (be it agent, servant, employee, ostensible agent, apparent agent,

   15         assistant and/ or consultant) with the consent and ratification of his/ her/ its co-Defendants.
   16         And that each and every Defendant, as aforesaid, whe.n acting as a principal, was negligent
   17         in the selection and hiring of each and every other Defendant agent, servant, employee,
   18         ostensible agent, apparent agent, assistant and / or consultant.
   19    8,   Plaintiffs are informed and believe and upon such information and belief allege that
                                                                    .
   20         Defendant THE REGENTS OF THE UNIV_ERSITY OF CALIFORNIA, is a California
   21         public corporation, authorized and empowered to administer a public trust known as the

   22         University of California, pursuant to Article IX, Section 9, subdivisions (a) and (f) of the
   23         California Constitution. Its principal place of business is in Oakland, Alameda County,
   24         California. Plaintiffs are informed and believe and thereon allege that Defendants sued
   25         herein as UCSD / UC SAN DIEGO HEALTH CENTER are entities within the University
   26,        of California and operates under said organization. Plaintiffs are informed and believe and
   27         thereon alleged that these defendants as related to DECEDENT and Plaintiffs are authorized
   28         and licensed to conduct and did conduct a hospital / clinic business or medical business or


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                 COMPLAINT FOR WRONGFUL DEATH ARISlNG FROM MEDICAL NEGLIGENCE
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    1          other similar businesses or other business in the State of Califomi~ County of San Diego,

   2           to which members ofthe public were invited, including DECEDENT I. MILLER-PERDUE.

   3           As to these Defendants, Plaintiffs are unaware of the exact form of business organization

   4           under which they conducted business and tlieir specific legal relationship, therefore Plaintiffs

    5          will ask leave of court to amend this complaint when the same has been ascertained. These

    6          Defendants THE REGENTS OF THE UNIVERSITY OF CALIFORNIA and UCSD I UC

    7          SAN DIEGO HEALTH CENTER will hereinafter be referred to collectively as SD
    8          HEALTH.
    9    9.    Plaiptiffs are informed and believe and upon such information and belief allege that
   10          Defendants SCRIPPS HEALTH SYSTEM (hereinafter SCRIPPS), ENCINITAS
   11          HOSPITALIST ASSOCIATES (hereinafter ENCINITAS), VISTA COMMUNITY CLINIC
   12          (hereinafter VISTA), were and are authorized and licensed to conduct and did conduct a
   13          hospital / clinic business or medical business or other similar businesses or other business
   14          in the State of California, County of San Diego, to which members of the public were
   15          invited, including DECEDENT.         Plaintiffs are unaware of the exact form of business
   16          organization under which Defendants SCRIPPS, ENCINITAS and VISTA were conducted
   17          and Plaintiffs will ask leave of court to amend this complaint when the same has been
   18          ascertained.
   19    10.   Plaintiffs are informed and believe .and thereon allege that at all times herein mentioned,
   20          Defendartts MINH TRAN DAO, M.D. (hereinafter DAO) MARK C BEYER, P.A.
   21          (hereinafter BEYER), AMY HUONG TRAN, M.D. (hereinafter TRAN), IAN GROvER,
   22          M.D. (hereiriafter GROVER); JOYCLENE GREEN, M.D. (hereinafter GREEN), ROBERT
   23          F. CUBAS, M.D. (hereinafter CUBAS), JON J. ROTH, M.D. (hereinafter ROTH),
   24          NATHALIE KARIN CALLAHAN, P.A. (hereinafter CALLAHAN), ELIZABETH
   25          RODERICK. M.D. (hereinafter RODERICK) and EDUARDO L. GRUNVALO, M.D.
   26          (heremafter GRUNVALO) were physicians or other h~althcare providers licensed to practice
   27          medicine and / or the healing    arts µi   the State of California. Plaintiffs are informed and
   28.         believe and thereon allege that all times herein mentioned said named Defendants were


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                   COMPLAINT FOR WRONGFUL DEA TH AR1SING FROM MEDICAL NEGLIGENCE
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     1          residents of the County of San Diego, California.
     2    11.   Plaintiffs are informed and believe and thereon allege~ that at all times herein mentioned,

     3          Defendants DAO, BEYER, TRAN, GROVER, GREEN, CUBAS, ROTH, CALLAHAN,
     4          RODERICK, GRUNV ALD, SD HEALTH, SCRIPPS, ENCINITAS, VISTA and DOES 1
     5          through 100, inclusive, and each of them, were health care providers;medical practitioners,
     6          medical doctors, medical specialists, physicians, surgeons, physician's assistants, nurses,
     7          technicians, aides, radiologists, anaesthetists, laboratory assistants, x"'.ray assistants and/ or
     8          medical facilities. Defendants, and each of them, held themselves out to DECEDENT I.
     9          MILLER-PERDUE as possessing that the dem-ee of skill ability and learning common to
    10          health care providers in the community, specializing and possessing expertise in the
    11          examination, diagnosis, advice, care and treatment of medical condition or conditions
 ... 12         afflicting DECEDENT I. MILLER.,PERDUE.
    13    12.   Plaintiffs are informed and believe and thereon allege that on or about May 23, 2019 and
    14          continuing through May 25, 2019, DECEDENT I. MILLER-:PERDUE consulted and
    15          engaged for compensation the services of Defendants SCRIPPS, ENCINITAS, BEYER,
    16          TRAN and DOES 1 through 20, inclusive, and each of them, as health care providers,
    17          medical practitioners, medical doctors, medical specialists, physicians, surgeons, physician1s
    18          assistants, nurses~technicians, aides, radiologists, anaesthetists, laboratory assistants, x-ray
    19          assistants and / or medical facilities to examine, diagnose, advise, care, treat, inform and
    20          administerto DECEDENT's medical needs, including butnotlimited to chest pain, shortness
    21          of breath, intractable nausea artd vomiting for four days, full body aches for four days, four
    22          days ofconstant nausea, vomiting and retching. At all times herein mentioned, a confidential
    23          relationship ofphysician and patient existed between DECEDENT I. MILLER-PERDUE and
    24          Defendants SCRIPPS, ENCINITAS, BEYER, TRAN a11d DOES l through 20, inclusive,
    25          and each of them.
    26'   13.   Plaintiffs are informed and believe and thereon allege that DECEDENT I.
    27          MILLER-PERDUE consulted with and engaged the services of Defendants SCRIPPS,
    28          ENClNITAS, BEYER, TRAN and DOES 1 through 20, inclusive, and each of them,


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                   COMPLAINT FOR WRONGFUL DEA TH ARISING FROM MEDICAL NEGLIGENCE
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    1         specifically for obtaining from said Defendants' professional services to examine, diagnose,

    2         advise, care, treat, inform recommertd and administer regarding her health, medical care,

    3         complaints, symptoms and related medical matters, including but not necessarily limited to

    4         those matters alleged in Paragraph 12. DECEDENT I. MILLER-PERDUE was admitted into

    5         Defendant SCRIPPS' facility. Plaintiffs are informed and believe and thereon allege that the
    6         course for this herein alleged time period (May 23, 2019 to May 25, 2019) DECEDENT I.
    7         MILLER-PERDUE underwent I received medical ·services, including but not necessarily
    8         limited to the following: abdominal ultrasound (no obstruction), a CT scan (no high-grade

    9         surgical abnormalities), and an ECG/ EKG.
   10   14.   Plaintiffs are informed and believe and thereon allege that said ECG / EKG done on May
   11         23rc1, as alleged in Paragraph 13, showed nonspecific ST abnormality and was shown as being
   12         ah ''Abnor,nal ECG." Said study     was then compared to an ECG ·ofNoVember 16, 20l6
   13         which showed ST now depressed in Inferior leads; ST now depressed in Lateral leads; T
   14         w~ve inversio~ more evident in Inferior leads. Piaintiffs are informed and believe and
   15         thereon allege that Defendants SCRIPPS, ENCJNITAS, BEYER, TRAN and DOES l
   16         through 20, inclusive, and each of them, were aware of said findings.
   17   15.   Plaintiffs are informed and believe and thereon allege that Defendants SCRIPPS,
   18         ENCINTAS, BEYER, TRAN and DOES I through 20, inclusive, and each of them,
   19         d.ischargedD.ECEPENTI.MILLER-PERDUEonor about May 25, 2019 andciidnotinform
   20         DECEDENT I. MILLER-PERDUE of the EKG/ ECG abnormal findings, did not order a
   21         cardiac consult, did not do any further work up. DECEDENT I. MILLER-PERDUE was then
   22         discharge4_from the SCRIPPS facilicy.
   23   16.   Plaintiffs are informed and believe and thereon allege that DECEDENT I.
   24         MILLER-PERDUE before May 31, 2019 and thereafter consulted with and engaged the
   25         services of Defendants SD HEALTH and DOES 21 through 40, itt~lusive, ~d-each of them.
   26         s_pecifically for obtaining from said Defendants professional services to examine, diagnose,
   27         advise, care, treat, inform and administer ~garding her heal~ medical care, complaints,
   28         symptoms and relate<:l medical matter.;, including but not limited to possible medical matters


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                · COMPLAINT FOR WRONGFUL DpATH ARISING FROM MEDICAL NEGLIGENCE
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    1          related to a procedure commonly known as gastric by-pass surgery. Plaintiffs are informed

    2          and believe and thereon allege that on or about May 31, 2019, DECEDENT L

    3          MILLER-PERDUE underwent a procedure known as Roux..en-Y gastric bypass surgety at

    4          Defendants SD HEALTH. Plaintiffs are informed and believe and thereon allege said stiigery

    5          was performed by Horgan Santiago, M.D. Followin~ said Roux-en-Y gastric bypass surgery

    6          DECEDENT I. MILLER-PERDUE was discharged home.

    7    17.   Plaintiffs are informed and believe and thereon allege that on or about June 4, 2019,

    8          DECEDENT I. MILLER-PERDUE consulted with and engaged the services of Defendants

    9          SD HEALTH, GROVER, GREEN, CUBAS and DOES 21 through 40, inclusive, and each

   10          of them, specifically for obtaining from said Defend~ts professional services to examine,
   11'         diagnose, advise, recommend, care, treat, inform and administer regarding her health,
   12          medical care, complaints, symptoms and related medical matters; including but not
   13          necessarily limited to complaints of chest pain, heartburn, left shoulder pain, nausea,
   14          vomiting and abdominal pain. Plaintiffs are informed and believe and thereon allege that

   15          DECEDENT underwent /.received medical services, including but not necessarily limited

   16          to the following, chest x-ray, abdominal CT scan (no evidence of bowel obstruction or free

   17          air), ECG/ EKG.
   18    18.   Plaintiffs are informed and believe and thereon allege that said ECG I EKG, as alleged in
   19          Paragraph 17, (completed on or about June 5th) showed nonspecific ST and T wave
   20          abnotn:iality. Prolonged QT interval ortu fusion. The study was considered to be "Abnormal
   21          ECG.'' and was noted that" •• •consider myocardial disease ...". Plaintiffs are informed and
   22          believe ru:id thereon allege that Defendants SD HEALTH, GROVER. GREEN, CUBAS and
   23          DOES 21 through 40, inclusive, and each of them, were aware of said findings.
   24    19.   Plaintiffs are informed and believe and thereon allege that prior to DECEDENT's discharge
   25          Defendant GROVER was handed a copy of the said ECG/ EKG by Emergency Room Tech
   26          Brandon Curtis Belew. Defendants SD HEALTH, GROVER, GREEN, CUBAS and DOES
   27          21 through 40; inclusive, and each of them, discharged DECEDENT on or about June 5,
   28          2019 and did not inform DECEDENT of the ECG I EKG abnormal findings, did not order


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                   COMPLAINT FOR WRONGFUL DEATH ARISING FROM MJ;:DICAJ., NEGLIGENCE
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    1           a cardiac consult, did not do any further work up. DECEDENT I. MILLER-PERDUE was

    2           then discharged from said SD HEALTH facility.
    3     20.   Plaintiffs are informed and believe artd thereon allege that DECEDENT L
    4           MILLER-PERDUE on or about June 8, 2019; consulted with and engaged the services of
    5           Defendants SCRIPPS; ROTH and DOES i through 20, inclusive, and each of them,
    6           specifically for obtaining from said Defendants professional services to examine, diagnose,

    7           advise, recommend, care, treat, inform and administer regarding her health, medical care,
    8           complaints, symptoms and related medical matters, including but not necessarily limited to
    9           DECEDENT's complaints/ presentation of intractable nausea, vomiting, diarrhea, epigastric
   10           pain and other signs and symptoms. DECEDENT was admitted into Defendant SCRIPPS'
   11           facility. Plaintiffs are informed and believe and thereon allege that the course for this herein
   12           alleged time period (June 8, 2019 to June 11, 2019) DECEDENT I. MILLER-PERDUE
   13           underwent / received medical services, including but not necessarily limited to a CT scan
   14 ·         of the abdomen (there was no evidence of bowel obstruction or free air)and ECGs / EKGs.
   15     21.   Plaintiffs ate informed and believe and thereon allege that said ECGs / EK.Gs done on June
   16           gih   and June 9th showed sinus tachycardia with occasional premature ventricular complexes,
   17           biatrial enlargement, nonspecific ST abnonnality. The studies were considered to be
   18           "Ab11orm<il ECG" when compared with ECG / EKG of May 23, 2019 as alleged in
   19           Paragraph 14. It was noted that "Previous ECG has u11determi11ed rhythm; needs review."
   20     22.   Plaintiffs are informed and believe and thereon allege that Defendants SCRIPPS, ROTH and
   21           DOES 1 through 20, inclusive, and each of them, discharged DECEDENT on or about June
   22           10, 2019. Plaintiffs are infonned and believe and thereon allege that Defendants SCRIPPS,
   23           ROTH and DOES 1 through 20, inclusive, and each of them, did not inform DECEDENT
   24           I. MILLER-,PERDUE of the ECGs / EKGs abnonnal findings, did not order a cardiac
   25           consult, did not do any further cardiac work up. DECEDENT I. MILLER-PERDUE was
   26           then discharged from said SCRIPPS facility.
   27     23.   Plaintiffs are infonned and believe and thereon allege that on June 11 , 2019, DECEDENT
   28           I. MILLER-PERDUE consulted with and engaged the services of Defendants SD HEALTH,


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                      COMPLAINT FOR WRONGFUL DEA TH ARISING FROM MEDICAL NEGLIGENCE
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    1          CUBAS and DOES 21 through 40, inclusive, and each ofthem, specifically for obtaining

    2          from said Defendants professional services to examine, diagnose, advise, care, treat,

    3          recommend, infonn and administer regarding her health, medical care, complaints, symptoms

    4          and re.lated medical matters. Plaintiffs are informed and believe and' thereon allege that

    5          DECEDENT was admitted into Defendant SD HEALTH's facility from June 11, 2019 to

    6          June 14. 2019. DECEDENT I. MILLER-PERDUE, while at facility underwent / received
    7          medical services including an EGD.
    8    24.   Plaintiffs are informed and believe and thereon allege that Defendants SD HEALTH,
    9          CUBAS and DOES 21 through 40, inclusive, and each of them, discharged DECEDENT I.
   10          :MILLER-PERDUE on or about June 14, 2019. Plaintiffs are informed and believe and
    11         thereon allege that Defendants SD HEAL1H, COBAS and DOES 21 through 40, inclusive,
    12         and each of them, did not inform DECEDENT I. MILLER-PERDUE of the previous ECG
    13         /EKG abnormal findings, did not order a cardiac consult, did not do any further cardiac work
   14          up. PECEDENT I. MILLER-PERDUE was then discharged from said facility.,
    15   25.   Plaintiffs are informed and believe and thereon allege that DECEDENT I.
    16         MILLER-PERDUEonJune26,2019,consultedwithandengagedtheservicesofDefendants
    17         SCRIPPS, CALLAHAN and DOES 1 through 20, inciusive, and each of them, spedfically
   ·18         for obtaining from said Defendants professional services to examine, diagnose, advise, care,
    19         treat, inform, recommend and administer regarding her health, medical care, complaints,
    20         syn1ptoms and related medical matters, including but not necessarily limited to her
    21         involvement in automobile traffic collision. DECEDENT presented with a myriad of
   22          complaints including but not limited to chest pain, burning chest pain, pain to face, pain to
   23          her haiid. DECEDENT was administered medical care.
   24    26.   Plaintiffs are informed and believe and thereon allege that Defendants SCRIPPS,
    25         CALLAHAN and DOES l through20, inclusive, and each of them, discharged DECEDENT
    26         I. MILLER-PERDUE on or about June 26, 2019. Plaintiffs are informed and believe and
    27         thereon allege that Defendants SCRIPPS, CALLAHAN and DOES 1 through 20, inclusive,
    28         and each of them, did not inform DECEDENT I. MILLER-PERDUE of the previous ECG


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                   COMPLAINT FOR WRONGFUL DEATH ARISING FROM MEDICAL NEGLIGENCE
                                  ~
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    1         I EKG abnormal findings, as herein above alleged, did not order a cardiac consult, did not

    2         do any further cardiac work up. DECEDENT I. MILLER-:PERDUE was then discllarged

    3         from the SCRIPPS facility.
    4   27.   Plaintiffs are informed and believe and thereon allege that on July 11, 2019, DECEDENT
    5         I. MILLER-PERDUE consulted wjth and engaged the services of Defendants SD HEALTH,
    6         CUBAS, RODERICK and DOES 21 through 40, inclusive, and each of them., specifically

    7         for obtaining from said Defendants professional services to examine, diagnose, advise, care,
    8         treat, recommend, inform and administer regarding her health, medical care, complaints,
    9         symptoms and related medical matters, including but not necessarily limited to continued
   10         emesjs multiple times a day, feelings of dehydration and thirst, reporting feeling worse after

   11         work out / excretion. Plaintiffs are informed and believe and thereon allege that at this visit

   12         / encounter (July 11, 2019) DECEDENT I. MILLER-PERDUE underwent / received

   13         medical services.
   14   28,   Plaintiffs are informed and believe and thereon allege that Defendants SD HEALTH,
   15         CUBAS, RODERICK and DOES 21 through 40, inclusive, and each of them, discharged
   16         DECEDENT I. MILLER-PERDUE and did not inform her of the previous ECG/ EKG
   17         abnormal findings, did not order a cardiac consult, did not do any further cardiac work up.
   18         DECEDENT I. MILLER-PERDUE was then discharged fro~ Defendant SD HEALTH
   19         facility.
   20   29.   Plaintiffs are informed and believe and thereon allege that on August 21, 2019, DECEDENT
   21         l MILLER-PERDUE consulted with and engaged the services ofDefendants SD HEALTH,
   22         GRUNVALD and DOES 21 through 40, inclusive, and each of them, specifically for
   23         obtaining from said Defendants professionaj. services to examine, diagnose, advise, care,
   24         treat, recommend, inform and administer regarding her health; medical care, complaints,
   25         symptoms and related medical .matters, including but not necessarily limited to continued
   26         sweats, diarrhea, vomiting. Plaintiffs are informed and believe and thereon allege that
   27         Defundarits SD HEALTH, GRUNVALD and DOES 21 through 40, inclusive, and each of
   28         them, found that DECEDENT's continued nausea and vomiting was without "any obvious"


                                                        10
                  COMPLAINT FOR WRONGFUL DEATH ARlSING FROM MEDICAL NEGLIGENCE
Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.20 Page 13 of 30




    1          etiology. Plaintiffs are informed and believe and thereon allege that at this visit/ encounter

    2          (July 11, 2019) DECEDENT I. MILLER-PERDUE underwent / received i;nedical services.

    3    30.   Plaintiffs are informed and believe and thereon allege that Defendants SD HEALTH,

    4          GRUNVALD and DOES 21 through 40, inclusive, and each of them, disch~ged

    5          DECEDENT I. MILLER-PERDUE and did not inform her of the previous ECG / EKG
    6          abnormal findings, did not order a cardiac consult, did not do any further cardiac work up.
    7          DECEDENT I. MILLER-PERDUE             was then discharged from Defendant SD HEALTH
    8          facility.
    9    31.   Plaintiffs are informed and believe and thereo!l allege that for several years prior to August
   10          22, 2019, DECEDENT]. MILLER-PERDUE consulted with and engaged the services of
   11          D~fendants VISTA, DAO and DOES 41 through 60, inclusive, and each of them, as her
   12          primacy care health provider / physician, specifically for obtaining from said Defendants
   13          professional services to examine, diagnose, advise, care, treat, recommend, inform and
   14          administer regarding her health, medical care, complaints, symptoms and related medical
   15          matters. Plaintiffs are informed and believe and thereon allege that DECEDENT presented
   16          on many occasions with signs, symptoms and risk factors for underlying cardiovascular
   17          disease. Plaintiffs are informed and believe and thereon allege that Defendants VISTA,
   18          DAO and DOES 41 through 60, inclusive, and each of them, did not attend to DECEDENT's
   19          presentations.
   20    32.   Plaintiffs are informed and believe and thereon allege that at all times herein mentioned, each
   21          named Defendant and DOES 1 through 100, inclusive, and each of them, did negligently and
   22          carelessly or otherwise wrongfully examine, diagnose, advise, care, recommend, treat, inform
   23          and administer to DECEDENT I. MILLER-PERDUE so as to fail to diagnose DECEDENT's
    24         underlying cardiovascular disease. In their examination, diagnosis, advice; care, treatment,
    25         informing and administration of medical care to DECEDENT I. MILLER-PERDUE, each
   26          named Defendant and DOES 1 through 100, i11clusive, and each of them; failed to exercise
    27         that degree of skill and care commonly possessed and exercised by health care providers,
   28          medical practitioners, medical doctors, medical specialists, physicians, surgeons, physician's


                                                         11
                    COMPLAINT FOR WRONGFUL DEATH ARISING FROM MEDICAL NEGUGENCE
Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.21 Page 14 of 30




    1             assistants, nurses, residents~ technicians, aides, r:adiologists, anae~thetists, laboratory

    2             assistants, x-ray assistants and / or medical facilities who perfonn the same and similar

    3             treatment and diagnostic procedures in the area where each named Defendant and DOES 1

    4             through I 00, inclusive, and each of them, practice.

    5    33.      Each named Defendant and DOES 1 through 100, inclusive, and each of them~ examined,

    6             diagnosed, advised, carecl, trea4:d, informed, administered, consulted and recommended to

    7             DECEDENT I. MILLER-PERDUE, including but not limited to those matters herein above

    8             alleged. DECEDENT I. MILLER-PERDUE relied upon the examinations, diagnoses,

    9             advisements, care, treatments; infonnation, recommendations, advice and representations of

   10             each named Defendant and DOES 1 through 100, inclusive, and each of them, all to

   11             DECEDENT I. MILLER-PERDUE's ultimate detriment, resulting in DECEDENT L
   12             MILLER-PERDUE's death on August 22, 2019.
   13    34.      Plaintiffs are informed and believe and thereon allege each named Defendant and DOES I
   14             through 100, inclusive, and each of them, was negligent(breached the standard of care) as
   15             related to those services respectively provided to DECEDENT. And that each att of neglect

   16             (breach ofthe standard of care) was a substantial factor in causing the death of DECEDENT

   17             I. MILLER-PERDUE.
   18    35.      Plaintiffs allege that this Complaint was filed within the statutory requirements as mandated
    19            by California law in effect at the titne ofthe_filing of this complaint.
   20    36.      As a direct and proximate result of the aforesaid negligence, carelessness or other wrongful
   21             conduct of defendants, and each ofthem, the heirs ofthe DECEDENT I. MILLE,R-PERDUE,
   22             heretofore set forth in Paragraph One above have respectively sustained pecuniary losses
   23             resulting from loss of society, comfort, attention, protection, services, love; moral support,
    24            and financial support of DECEDENT I. MILLER-PERDUE, and therefore sustained
    25            economic and non-economic damages, including but not necessarily limited to the following:
    26                    A. Non Economic damages for the loss of DECEDENTs love, companionship,
    27   comfort, care, assistance, protection, affection, society, moral support, according to proof at time of
    28   trial.


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                      COMPLAINT FOR WRONGFUL DEATH ARISING FROM MEDICAL NEGLIGENCE
Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.22 Page 15 of 30




    1                       B. Economic damages for reasonable value of household services. Plaintiffs are
    2   informed and believe and thereon allege that DECEDENT was 39 years old at the time of her death
    3   and had a life expectancy of approximately 43 years. DECEDENT engaged on average of not less
    4   than 2000 hours per year in providing household services. At the reasonable rate of compensation

    5   of not less than $15.00 per hour, Plaintiffs are informed and believe and thereon allege they have
    6   suffered a loss of DECEDENT' s providing of household services. Plaintiffs pray for economic
    7   damages for loss of household services (past and future) according to proof at time of trial.
    8                       C. Economic damages for loss of financial support, that DECEDENT would have
    9   contributed to the family during her life expectancy. DECEDENT, a former member of the United
   10   States Army, was earning around $115,000.00 a year prior to her death. Plaintiffs pray for loss of
   11   financial support for said amount for not less than 30 years or according to proof at time oftrial.
   12                       D. Other economic and non-economic damages by way of medical services, funeral
   13   and burial expenses and incidental items, according to proof at time of trial.
   14           Said economic and non-economic damages as alleged herein were incurred and necessitated
   15   by reason ofthe negligent or otherwise acts and omissions of/ by each named Defendant and DOES
   16   1 through 100, inclusive, and each of them. The full amount of economic and non-economic
   17   damages are presently unknown at this time and Plaintiffs pray for said damages according to proof
   18   at time of trial.
   19           WHEREFORE, Plaintiffs respectively pray for judgment against Defendants, and each of
   20   them, as follows:
   21            1.         For economic damages according to proof;
   22           2.          For non-economic damages according to proof;
   23           3.          For funeral and burial expenses according to proof;
   24           4.          For costs of suit incurred herein;
   25           5.          For interest on damages pursuant to Civil Code Section 3291; and
   26           6.          For such other and further relief as this court finds just and proper.
   27   III

   28   ///


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                      COMPLAINT FOR WRONGFUL DEATH ARISING FROM MEDICAL NEGLIGENCE
Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.23 Page 16 of 30




     1   Dated: August 13, 2019         THE LAW OFFICES OF RICHARD M. KATZ

     2
     3                                  By:
                                              ~   ?11-~
                                              RicM.Katz,Esq.
     4                                        Harlan N. Petoyan, Esq.
                                              Attorney for Plaintiffs,
     5                                        Richard Perdue ill, Kealani Marie Miller-Perdue,
                                              Keokola Khailani Miller-Perdue and Kaielee Dalani
     6                                        Miller-Perdue
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                   COMPLAINT FOR WRONGFUL DEA TH ARISING FROM MEDICAL NEGLIGENCE
    Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.24 Page 17 of 30
                                                                                                                                                                         CM-010
  A~::aou.~&:i~ (~I~~w5g4i)                          State Bar numw, and address);
    The La'w Offices of Richard M. Katz
    J 122 East Green Street    ·
    Pasadena, CA 91106
                   626-796-6333
          TeLEPHONENO.:                      FAXNO.: 626-796-5615
                  Plaintiffs, RICHARD PERDUE Ill
   ATTORNEYFOR{N1111t1J:
t--.;..;...;.;;=.;..;...;;.;.;.:.=.;;.:"'----.,----'-.,--.;;...;.;;;:....::::..,~=-::c=:::~~;...=;;..._               1
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN D!EGO
         STREETAOoREss:       330 W. Broadway
        MAILING ADDRESS:      Same as above
        crrv ANO zip cooE:    San Diego, 921 QI
            aRANcH NAME:      The Haff of Justtce
   CASE NAME:
  Perdue III, et.al. v. The Re ents Of The Universi                                  Of California, et.al.
        CIVIL CASE COVER SHEET                                   Complex Case Desl~riatlon
                                                                                                                    CASE NUMBE.R:

0         Unlimited     D         Limited
                                                            D Counter D ,Jolnder                               37-2020-00028645-CU-MM-CTL
          (Amollnt                (Amount
                                                                                                               JUDGE:
          demanded               demanded is                Filed with first appearance by defendant
          exceeds $25,000)        $25,000 or less)              (Cal. Rules of Court, rule 3.402)               o.:PT:
'------,-----_;_--'-----'--:t,:;;-:::;:-:;-7ici-;::;;;-;;:;;~;-;:;-:::::;;;:::;;;:;::;;,::=-j~:::::;,::~::::=;:-:-;;;.::---::
                                      items 1-6 below must be com feted (sea instructions on·page -2 ; -                    _::_=-=-=-=-=-=-=-=---:-:--".'.".:"'."'.'=:=:=::~ .,:
 1. Check one box below for the case type that best describes this case:
    Auto Tort                                            Contract                                       Provlslonally Complex Clvll Litigation
    D Auto (22)                                          D ' ~reach of contracVwarranty (06) (Cal, Rule~ of Court, rules 3.400-3.403)
    D         Un!hsured motorist (46)                           D       Rule 3.740 collectlons (09)          D     Antitrust/Trade regulation (03)
    Other PI/PDM'D (PersonaJ Injury/Property                    D       Other colteclions (09)               D     Construction defect (10)
    Damage/Wrongful Death) Tort                                 D       Insurance coverage (18)              D     Mass tort (40)
    D    Asbestos (04)                                          D       Other contract (37)                  D     Securities lltigatlon (28)
    D    Product liability (24)                                 Real Property                                D     Environmenlal/Toxlc tort (30)
    0    Medical malpractice (45)                               D      Eminent domain/Inverse                D     Insurance coverage dalms arising from the
    D    Other PI/PDM'D (23)                                         · condemnation (14)                           above listed provisionally complex case
    Non-PUPD/WD (Other) Tort                                    D      Wrongful eviction (33)                      types (41)

    D        Business tort/unfair business practice (07)        D
                                                              Other real property (26)                       Enforcement of Judgment
    D        Civil rights (08)                           Unlawful Detainer                                   D     Enforcement of judgment (20)
    D        Defamation (13)                                    D       Commercial (31)                      Miscellaneous Clvll Complaint
    D        Fraud (16)                                         D       Residential (32)                     D     RIC0(27)
    D        Intellectual property (19)                         D     Drugs (38)                             D     Other complaint (not specified above) (42)
    D        Professlonal negligence (25)                       Judlclal Review                              Mlscellaneous Clvll Petltlon
    D        Other non-Pl/?D/WD tart (35)                       D     Asset forfeiture (OS)                  D     Partnership and corporate governance (21)
    emjloymant                    . •·                          D      Petition re: arbitration award (11)   D     Other petition (not specified above) (43)
    1        Wrongful temiinalfon (36)                          D     Wrii of mandala (02)
    D        Other employment (15)                              D       Olher udlcial review 39
2. This case         Is      ., is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.     D Large number of separately represented parties        d.                    D
                                                                          Large number of witnesses
   b.     D Extensive motion practice raising difficult or novel  e.                    D
                                                                          Coordinatfon with related actions pending In one or more courts
            issues that.will be time-consuming to resolve                 in other counties, states, or countries; or in a federal court
   c.     D Substantial amount cf documenlpry evidence            f.                     D
                                                                          Substantial postjudgmentjudlcial supervision
3. Remedies sought (check all that apply): a.@ monetary                              b. D nonmonetary; declaratory or injunctive relief                     c. Opunitive
4. Number of causes of action (specify): One
5. This case         isD                 0
                                Is not a class action suit.
6. If there are any known related cases, file and seive a notice of related case. (You may use form CM-015.)
Date: August 13, 2020
Richard M. Katz, Esq.
                                  (TYPE OR PRINT NAME)
                                                                                     NOTICE
  • Plaintiff must file this cover sheet with ihe first paper filed in the ac\ion or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and lnstjiutions·Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet In addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this Is a collections case under rule 3.740 or a complex case, this cover sheet will be usedfor statistical purposes onlv.
                                                                                .                                                                                        ~      1~
Fenn Adopted for M•nda1ory Use                                                                                            Cal. Rules ol Co..t, rules 2.30, ~.220. 3.400-3.-403, 3,740;
  Judlclal Council or Calilamla
                                                                CIVIL CASE COVER SHEET                                            Cal. Standards ol Judid.11 Admlnlslradon, •Id. 3.10
  CM-010 {Rev. JlAy f, 2007]                                                                                                                                    www.COUltlnlo.ca.oov
     Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.25 Page 18 of 30

                                                                                                                                       CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
  To Plaintiffs and others Filing First Papers.. If you are filing a first paper (for example, a complaint) In a civil case, you must
  complete and fife; along with your first paper, the Civil Case Cover Sheet contained on page 1. This Information will be used to compile
• statistics about the types and numbers of cases filed. You must complete .items 1 through 6 on the sheet. In Item 1, you must check
  one box for the case type that best describes the case.. If the case fits both a general and a more specific type of case llsted in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best Indicates the primary cause of action.
  To assist you In completing the sheet, examples of the cases that belong under each case type in item 1 are provided below, A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sancti9ns under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties In Rule 3.740 Collections Cases. A "collections case• under rule 3.740 is defined as an action for recovery of money
 owed in a suin stated to ba certain that Is noi more than $25,000, ex.elusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not Include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive plead Ing. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes In items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be serv~d with the
 complaint on al parties to the action, A defendant may file and serv.e no later than the time of its first appearance a Joinder in the
 plaintitrs designation, e counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.                                       CASE TYPES AND EXAMPLES
 Auto Tort                                       Contract                                           Provlslonally Complex Civil Lltlgatlon (Cal.
   · Auto (22)-Personal Injury/Property               Breach of Contract/Warranty (06)              Rules or Court Rules 3.4-0~3A03)
           Damage)Wrongful Death                          Breach of Rental/Lease                         AntilrilsVfrade Regulation (03)
      Uninsured Motorist (46) (if the                          Contract (not unlBwful dBtBlner           Construction Defect (10)
           case Involves Bn uninsured                              or wrongful flvlct/on)                Claims Involving Mass Tort (40)
           motorist claim subjflct to                     Contract/Warranty Breach-Seller                Securities litigation (28)
           arbitration, check this Item                        Plaintiff (not fraud or negligence)       Environmental/foxlc Tort (30)
           Instead of Auto)                               Negligent Breach of Contract/          .       Insurance Coverage Claims
 Other Pl/PD/WO (Personal Injury/                              Warranty                                       (arising from provisiona/iy complex
 Property Damage/Wrongful Death)                          other Breach of Contract/Warranty                   casa type listed above) (41)
 Tort                                                Collectlons (e.g., money owed, open              Enforcement of Judgment
      Asbestos (04)                                       bookaccounls) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                        Collectlon Case-Seller Plaintiff                    Abstract of Judgment (Out of
           Asbestos Personal Injury/                      Other Promissory Nole/Collections                        County)
                Wrongful Death                                  Case                                          Confession of Judgment (non-
      Product Liability (not asbestos or              Insurance Coverage (not provisionally                    . domflstic relations)
           toxiclanvironmantal) (24)                       comp/fix) (18)                                     Sister State Judgment
      Medical Malpractice (45)                            Aulo Subrogation                                    Administrative Agency Award
           Medical Malpractlce;.                           Other Coverage                                         (not unpaid taxes)
                 Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
           Other Profilsslorial Health Care               Contractual Fraud                                       Judgment on Unpaid Ta,ces
                 Malpractlce                              Other Contract Dispute                              Other Enforcement of Judgment
      Other PI.IPD/W0 (23)                       Real Property                                                     Case
           Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                 and fall)                                 Ca'ldemnaUon (14)                             RICO (27)
           Intentional Bodily Injury/PD/WO            Wrongful Eviction (33)                             Other Complaint (not specified
                                                                                                              above) (42)
                 (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
                                                                                                              Declaratory Relief Only
           Intentional Infliction of                      Writ of Possession of Real Property                 Injunctive Relief Only (non-
                 EmoUonal Distress                        Mortgage Foreclosure                                   . harassmenQ
           Negilgent Infliction d                          Quiet Trtle
                 Emotional Distress                       Other Real Property (not eminent                    Mechanics Lien
                                                                                                              Other Comm.ercial Complaint
           Other PI/PD/WD                                  domain, landlordllanent, or
                                                                                                                    Case (non-tortlnon-<XHnplex)
 Non.Pl/PD/WO (Othtir) Tort                                foreclosure)                                       Other Civil Co~alnt
      Business Tort/Unfair Buslness              Unlawful Detainer                                                 (non-tortlnon-comp!flx)
          Practice (07)                               Commercial (31)                                 Miscellaneous Clvll Petition
      Civil Righls (e.g.. discrimination,             ResidenUal (32)                                    Partnership and Corporate
          false arrest) (not civil                    Drugs (38) (if the case Involves Hlegal                  Governance (21 J
           harassment) (08)                                drugs, check this Item; otherwise,            Othar Petition (not specified
     .Defamation (e.g., slander, ~bal)                    report as Commerc:iBI orReskfentfal)                above) (43)
            (13)                                 Judicial Review                                              Civil Harassment
      Fraud (16)                                  · Asset Forfeiture (05)                                     Workplace Vblence
      Intellectual Property (19)                      Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
      Professlonal Negligence (25)                    Writ of Mandate (02)             .                            Abuse
          Legal Malpractice                                Writ"-Adminlstralive Mendemiis                     Election Contes!
          Other Professional Malpractice                   Wnl-Mandamus on Limited Court                      Petilio.n tor Name Change
               (not mec/ical or /agaQ                          Case Matter                                    PatiUon for Relief From Late
       Other Non-Pl/PD/WO Torl (35)                        Wril-Other Limited Court Case                            Claim
 E111ployment                                                  Review                                         Other Civil Petition
      wrongful Tenrilnation (36)                      Other Judicial Review (39)
      Other Employment (15)                                Review of Health Officer Order
                                                           Notice of Appeal-:t.abor
                                                               Commlssloner Appeals
 CM'010[Rev,Juty 1. 2007)                                                                                                                Page2ol2
                                                       CIVIL CASE COVER SHEET
          Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.26 Page 19 of 30
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                                                                                                                                                                           ,   ONL      1
      Richard M. Katz. E:q. l I3 , 8( 941 l                                                                                                                                    ...
    ~ l h "' Law Offices or Ri ·hard . . Kati
      I I~~ :ast Gr en trcct                                                                                                                              -   . ! •
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          SUPERIOR COURT OF CALIFORNIA. COUNTY OF                                              .,\ :   f)I F.(jQ
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U. 1                                                                                                                                                                      -J



>   I     DEFENDA                    1q E PO              oc:   T:   The Rq!. ·nts. ct.al.
m   r - -- -
    !                                       APPLICATION AND ORDER FOR APPOINTMENT
                                                                                                                                             -- - -- - ---- -· - --                         - ---·· ..
                                                  OF GUARDIAN AD LITEM-CIVll
                                                                      cz=     EX PARTE
                                                                                                                                             i ~7-_020-   O{L/645-CU-M ~1-CTL 1

             NOTE: Th is form is for use in civil proceedings in which a party is a minor. an incapacitated person, or a person for
             whom a conservator has been appointed. A party who seeks the appointment of a guardian ad litem in a family law or
             juvenile proceeding should use form FL-935. A party who seeks the appointment of a guardian ad /item in a probate
             proceeding should use form OE-350/GC-100. An individual cannot act as a guardian ad /item unless he or she is
             represented by an attorney or is an attorney.

              pplic,m l (name): H kn 1ilkr-. 1cl                               ·ro
             a. -    : the parent of (name):
             b.        ✓ ~ I e guardian of (name): Kt:alan i i'vlarii..: Millcr-r~r Jui..:
             c.     _ __, I e conser-1ator or (mune).
             d.     ,..__ .., a party to e suit.
             e.     ~ the 1;1 i or to be re presented (ii then inor i 14 years of age or otde ).
             f.     ~-✓- J a other interested person (specify capacit ). (;rnndmotht: r

        2. This appl ication seeks t e appoin tment o the following                                          erson as guardian a htem (state name. address. and telephone nu nber,:
             lh:l·n ·till r-I                             lcrJ.:'74 7Barringt011Dri1vcTcn11..;cu l~ .C. 925)2.(76 )_IJ -3609. .


        3 The guardian ad litem is to represent he ,nteres s of the following perso                                            (state name. address. and telephone number):
             Kcalani ~hlri~ , 1ii kr-Perdu ' . 36( fo n ·tone Bay DriY . Ocean:id ... CA 9205 . (760) .. I.~ -J                                                                l    .




        4. T e perso. to be represented 1s:
           a. [ .?-~ a ir.or (date of birth). 0( : 2910
           b.        C
                     an I compe e perso
                     -- -·,
           c. L_j a per on for whom a onscrvator has bee , appoi te .
        5. The court should appoint a guard ian ad !item because:
             a.        .    J     the person named in I em 3 has a cause or causes o action on which suit should be brought (describe):
                                        cdical                  alpracticc i Wrongful Death                                                                           ·



            1 __ _   I      Continued on Attac me t 5a .


                                                                                                                           _ _ _ _ _ _ _ _ - -- -· - - · - . _ _ _ __          _ _ _P_-1.,__•_ l_ot ?
        I _,. _   <)Op l 1 f .  M . !Vl.itr..t~ ; '                                                                                                                                \,e1     ~   1   1 1.. )r :<-'li..·
              ,,Jc.,,, Cou,..c I a. j C,u,:, •"'' h•t                       APPLICATION AND ORDER FOR APPOINTMENT                                                                                   ~   l    , ,, • .;
         i ,P/ r 1i) 111 ; .Jar, ~r,' • ; 1 .~:                                   OF GUARDIAN AD UTEM-CIVIL
    Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.27 Page 20 of 30
                                                                                                           (
                                                                                                                                                                                              CIV-010
                                                                                                                                    r :.f. [ 'llJIAB'- R
          PLAI TIFF:PET11 10          cR     Richard Pcrd uL !ll. l:t.ai.
' DEFE DANT/RESPO DEN                        Th Rl UCnl: . ct. al.
                                                                                                                                                               - - - --                  -   . ---- -- -
5.         [--=-_,   more han 1o days have elapsed since t e sun mans in the above-entitled at er was served on the perso named
                     , ;tern ~. and no applicat ion for he r.1ppoin rnent of rl guardian ad lite has been made by the person identi ·ied 1n
                     i em "' or any other per so ..

     c.              the perso        aneu in ,ten 3 ha~ no gumdian or conse 1aior of his or he e tale .

     d                     ~ ..   01 ntm rt fag •ardi,m a11 lilem i necessary for                ,P.   ollowi g reasons (specifyi




           =~        Co ir ued o A tac:,r.1ent Su .

     The proposed guardia ad htcm·s relal1onstlip lo t e person he o                              he will be representing is.
     :1    i7 --.    rel;ited (s!me relr1tionsh1p) ·       (irnmlmo her
     b. :            nr.   re l.-3 e d (sJJecify capr1r:1ty).


7    The proposed guardian ad Ii em is fully competent and qualified t understand and pro ec the 1ghts of the person he or he will
     rer,resen and has no in eres s ~dverse o l e interests o that person . If there are any issues of comp tency or qualil·cation or
      ny pos ibl c1dverse ,nterests. descflbe and explain w l 1y the wopos . d gimrd,an hould nevertheless be appointed/:




           . __ j Corilir ued on Allachn' enl 7
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I (!e clare uniier pP.n;1! y of ;-icrjury under t e la,,vs of tne Slate of C, l:for ,1a thcll Ir.<' foreq ing is in.JP. ;:,
            I   I
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                                                                                                                       I,     I

11--lcn ~vli lkr-i\.kl                                                                                                 I:' .


                                                           CONSENT TO ACT AS GUARDIA                               A     LITEN
I consent to the appointment as guardian ~d !item under h                              above petition .
Date·




                                                                      ORDER                 ✓-.i EX PARTE

 THE CO RT Fl OS tha: i. 1s reasom1ble a d necessary to appoint a guardian ad Ii em for the person named in item 3 o the
 appltcation . as requested.

 T. E COURT ORDERS that (name) : J k                        lcn 1ill cr-Mcl 'TO
  s crcby appo1 ted as the guardian ad htem fo r (name) :                 Keal an i : 1laric , 1ilk r
 ro- t e reaso s se! orth in item 5 of the application .
 Date




     - - - - -- ------ --- ·- - - -
                                                         APPLICATION AND ORDER FOR APPOINTMENT
                                                               OF GUARDIAN AD UTEM-CIVIL
         Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.28 Page 21 of 30

                                                                                                                                                 ORle lNAL
                                                                                                                                                                                          •   1   -r,            CIV-010
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. Ri ·hare! \1. Katz. -.:q. ( ~ BN i1t 941 l
;-- The Law Orfi c.- of Ric urd : 1. Kat;.,
           1122 F..tsl(irccn Srrcct
           Pasadena. { ·:'\ 91 I 06
               HJ '!-10 1 ~ W1 6:!6-7<)6-6J_;_-;                                            FA" " '   1(1p•,-.,,., ,i.    62( - 796-"'i() l 5                                                           P 4: 18 ·
                                    Richurd·:,~ kaczl:.:nvntfiL~s.com
        1::- •.. • ;.nPRW. -,_ ,.•,,:11J

                                    Plaintiffs. Richard Perdu Ill. ~t.al.
                                     EYFr. .,N,1.~1e,
.        SUPERIOR COURT OF CALIFORNIA. COUNTY OF . 'A : r)f F(10
             .::.r -~ - .,:;o~cc:;s 3 , ) W. Brnad\\''l ,.
                           MA•uN,, ,\ 0R1:ss   Same ~- ,ihoYe                                                                                                           f;      I L E
                                                                                                                                                                            Cl1,t ti_., 11,-ter Chit
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                                               S;m Oicgo. 9_101
                               . , ... N, O.! •l' •--:nef

                             em Nc•1 ~w,11-    Tilt I bll o f .lu: tice
                           PLAl ' Tirr .- cr1 ror,irn Richard PL-rd uc 111. cL 'tl.
                                                                                                                                                                            SEP 14 2020
                                                                                                                                                                       By: _ _~ Deputy

                                                           APPLICATION AND ORDER FOR APPOINTMENT
                                                                 OF GUARDIAN AD UTEM-CIVIL
                                                                                                                                                             37-_0_0-0002 \ t 45- l "-M M-CTL
                                                                      [ZJ EX PARTE
             NOTE: This form is for use in civil proceedings in which a party is a minor, an incapacitated person, or a person for
             whom a conservator has been appointed. A party who seeks the appointment of a guardian ad /item in a family law or
            juvenile proceeding should use form FL-935. A party who seeks the appointment of a guardian ad !item in a probate
            proceeding should use form DE-350/ GC-100. An individual cannot act as a guardian ad /item unless he or she is
            represented by an attorney or is an attorney.

            AtJplic.:int (name) Hck11 M ilL:r-\11 lcro                                                                                            1s
            a ~ J the parent of (name)
            b , ~ I the guardian of (name): Kck~)a Khailani.                                                             lillcr-Pcrduc
            c. __ the conserva tor o · (n me)
             d           :_~ ~ a party to 'he suit.
             e           t ~ t e mi nor to be represen ted (if the ,n;nor 1s 14 years of age or older/.
                         '._{ ~ another interested person (spe edy capac; y)                                             (iranJm thcr

    2. Th is appl ica ion SE'?eks the appoin ment oi the ollowing person as gua cian ad htem (state name. address. and telephone number>·
             I kkn rvti lkr-Mclcr .                                              4 7 Barrington Drivi: Ten ccula. C                             9_ -;9 _, ( 7601 213-3609.


    3            he guardian ad 11:em is to represe                                    the interests of the followi r. g perso             (state name. address. and telephone number) :
                ·' ekl·1 Khailani • 1liller-Pen.lu                                    \ >66 Morn stem · Bay Drive. Oci.;~m . idc. C.~ n057 (760) 3 15-:~-'.



    4. T he person to be represented is ·
              a ! ..,, ~ a minor (date of birth): 06/_7/ 10
              b . L-1 an i competen. persor .
              c. L___· a pe son for ~horn a conser,1ator as been appointed.
    5. The.£ourt should appoi t a guardian ad litem because :
              a                                the person named in item 3 as a cause or cau ses of act:on on which suit shou ld be brought (describe )
                                               rvl dirnl \ -1a lpracticc / Wron rful Death     1




            \_j                     Cont,nued on Attach meni 5a .


                                                                          - - - - - - - - -- - - -- - - - -- - _                    __ __ _ _ _ _ _ _ _____ _      -   --    · _ _ ___ _ __ _ _P_.g• ,~1 2
    "''"" Ac;op•,                     r        ~1         a or> u~•                   APPLICATION AND ORDER FOR APPOINTMENT
          ..,1'• , .; :,,-.:   f:.0 1t,n,.:~   .:,f   t"' "l!•t--~·ru:1
        t~I\'."' r, iR,-.,., .J;. n ...:~~ l.                  :'()";Bl                     OF GUARDIAN AO LITEM-CIVIL
                                                                                                                                                                                              I'•"'·,nr, :, lr•43,\i'-•·:
                                                                                                                                                                                                           t                    hr .
                                                                                                                                                                                              !"-W"' ~rirr,r.Wr.il>'flr,1\ .·-.-
     Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.29 Page 22 of 30



                                                                                                                                                                                      CIV-010
          0
              LA!.        IFF!PETITIONER            Rich ard Pcrdu~ 111. ~t.al.
    DEFENDAN 1RESPO DE • '                         Th' R ·gents. cl.al.                                                                    I~       -_02( -0002< M5-   --u- ,1tvl-CTL
                                                                                                                                           L _ _ _ __ _    _____ -- - -   -       ·

~     b               : more than 10 da>,s have eiaps d since t. e summon in th?. r1hove-entilled matter wa served on the person named
                        1n 1te,i 3. a d n::, a;)phcat1on ·o, lhe appo;n me, t of a g 1ard1an ad !Item has bee rnade , he erson identified in
                        item 3 o any o:her person .

      c.        __ 1 the per on named in ite 1 3 'las no guardian or CO!'IServa to of · 1s or her esta e.

      d . ,_ _        i   l    · ppointm nt of c1 guardian ad hte                is ne:::essary for t e folio 1Ving reaso s (sper.ify )




                          Co t1nued o A tachmen! 5 .

'     The proposed                gl ardian   ad htom· relationship o he person e or she ·,viii be rep resen                           i   g is :
              · ./.~ reined (state relationship)"                        GranJmotht'I'
      h. ~--_J not rela ed (specify capac1tyi:

7                                                                                                      righ ts of lhe person he or 5he w,11
      T e :1roposed guardian ad litP.m 1s f. lly competent and qur1lifred to und rst.:ind and protec• th
      represent and has no interests adverse o the interests of that person. (If there are any is sues of compe tency or qualdicat1on or
      A y possible adverse I terests . de _nbe and exp/am why the proposed guardian should neve,theless be appointed).




                          C ntinued on Attach me t 7.                                                                          I
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                                                                                                        ►                                                                 .
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I e:ec!ar u:ider pcn,11'. o pe IL'Y under the lc1ws of the Sia!,;; of C.:lltfor'11a that me iore90 nq ,,. t·u ~ ,.. · • •
Daie :           i        ;/
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                                       T'-'PE • )R P P. i   . t .\!,It


                                                                         CONSENT TO ACT AS GUAROIAi .                        ~ 1I          EM
I ro, sent to t e appointn en as guara ian ad htem under he above oe 1lion
Date· ii             r , : :· ,



                                                                                                        ► -----------------------
                                                                                                                                   .   - ----- -- - - - - - --
                                                                                ORDER          J __1 EX PARTE
    THE COU T Fl ms hat it is reasonable and necessary to appoint a guard ian ad litem or the person named in item 3 of the
    a::>phca ,on , as requested.




                                                                         APPLICATION AND ORDER FOR APPOINTMENT
                                                                               OF GUARDIAN AO LITEM-CIVIL
     Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.30 Page 23 of 30


                                                                                             ORIIINAL                                                 SUM-100
                                           SUMMONS                          BY FAX                                        fqlf-QQURT USE OHL Y
                                                                                                                       (S0~~~8A USO DEL.A CORTf)
                                    (CITACION JUDICIAL)                                                     CML BUS!t~ESS OFflCE--31
NOTICE TO DEFENDANT:                                                                                              ~-..rfnut
                                                                                                                 C,:Pi         Ol'\1C:
                                                                                                                        r~ sl. Ui        JrnJ
                                                                                                                                   til..! , -·
(A VISO AL DEMANDADO):
THE REGENTS OF THE UNIVERSITY OF CALIFORNIA,
 Additional Parties Attachment fonn is attached."
11                                                                                                       12020 SEP I Lt P ti: 18 '.
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
RICHARD PERDUE III, KEALANI MARIE MILLER-PERDUE,
11
   Additional Parties Attachment fonn is attached."

 NOTICE! You have been sued. The court may decide against you without your being heard uriless you respond within 30 days. Read the infor'maUon
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call wlll not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. The re may be a court form that you can use for your response. You ~n find these court forms and more Information al the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/seJfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee , ask
 the court clerk fore fee waiver form. If you do not file your response on time, you may rose the case by default, anlyour wages, money. and property
 may be taken without further warning from the court.
     There are othe r legal. requirements. You may want lo can en attomey right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal serv~s from a nonprofit legalser-iices program.-You can locate
 lhese nonprofit groups at the callfomla Legal Servrces Web site (www.tewhalpcalifomfe.org), the California Courts Online Self~Heip Center
 (www.courtinfo,ca.gov/selfhelp), or by contactrng your local court or county bar association. NOTE; The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more ln a ciVil case. The court's lien must be paid before the court will dismiss the case.
 /A VISO! Lo han damandado. Si no responds dentro de 30 dfes, la corle puede decidir an su contra sin escuchar su versf6n. Lea la informaci6n e
 contlnuacl6n;
    Trane 30 DIAS DE CALENDARIO despu{}s de que le entreguan asla citaclon y papeles /egales para presenfar una respuesta por ascrito en esfa
 cort9 y hscar que sa enlregue une cop/a al demsndante. Una carte o una l!amada telefonics no lo protegan. Su respuesta por escrlto tlans que estar
 en fonnafo legal corracto si desea qua procesen su caso en ta corta. Es posible que haya un formulsrio que usled pueda   1
                                                                                                                                 usar para su respuesta.
 Puede encontrarestos fomvlan·os de ta corte y m~s lnformacl6n en el Centro de Ayuda de las Cortes de Califomla f,.oiww.sucorte.ca.9ovJ, en la
 biblioteca de !eyes de su condado o en la corte qi.ls le quede mas cerca. SI no puede psgar Is cuota dB presenfac/6n, plda al secretario de la earls
 que le de un formutario de exenci6n de pego de cuotss. Si no presents su respuesta a tiempo, puade perder el caso por lncump/imtento y la carte ts
 podrft quiter su sus/do, dinero y bienes sfn mAs adverteneia.
   Hay olros requisitos legaJes. Es rocomendabJe que llama a un abogado inmedletsmente. Si no canoce a un abogedo. pueda "amar a un servicio de
 remls/6n a abogados. SI no puede pager a un abogedo, es posJbte que cumpla con los requisMos para obtener ssrviclos legales .gretuMos ds un
 progrema de servicios legates sin fines de Jucro. Puede encontrar estos gri.Jpos sin fines de lucro en el sllio web ds Cslifomia Legat Services;
 (www.lawhelpcalifomia.org}, en el Centro de Ayurfs de /ss Cortes de Califomfa, (www.sucorte.ca.govJ o ponlr!mrfose en contecto con ta corte oat
 colsgio de abogados locales. AVlSO: Por fey, la corte tlene rferecho a reclamar las cuotes y Jos costos eKentos por impont,r un gravamen sob re
 cualquler recuperaci6n de $10,000 6 m~s de valor recibida med/ante un acusrdo o una concesion de arbifrajo en un caso da darecho civil. Tiena qua
 pagar et gravamen de ls co rte antes de que la corta pueria rfasechar el csso.
The name and address of the court is:                                                                    CASE NUMeER; •~!!f-,:
                                                                                                         (Nilmero d.l Cs'°/: ·-
(Et nombre y direcci6n de la corte es):
San Diego County Superior Court - The Hall of Justice                                                          37-2 020-000~8 645-CU-M.M-CJL
330 W. Broadway, San Diego, CA 92 IO 1
The nanie, address, and telephone number of plaintiff's attorney, or plaintiff without a·n attom-ey; is:
(B nombre, la direcci6n y al numero de tefefono def abogado def demendante, o def demandante que no tlene abogado, esj: ·
Richard M. Katzj Law Offices of Richard M. Katz, 1122 E. Green St., Pasadena, CA 91106 (626) 796-6333
                                                                                                                                             M. DIXON
DATE:
(Fecha}
                SEP 2 3 2020                                                  Clerk, by
                                                                       (Secretarib} .
                                                                                                                                                       • Deputy
                                                                                                                                                        (Adjunto)
(For proof of service of this summons, use Proof of Servlce of Summons (form POS-010).)
(Para prusba .da entrega de esta -citation usa el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TD THE PERSON SERVED: You are served
 [SEAL)
                                  1.       c:J
                                            as an individual defendant.          ·
                                  2. CJ as the person sued under the fictitious name of (specify):


                                      3.   c:J   on behalf of (specify);

                                           under.   c:J   CCP416.10 (corporation)                         c:J       CCP416.60 (minor)
                                                    c:J   CCP 416.20 (defunct corporation)        ·       c:J       CCf; 416.70 ( conservatee)
                                                    c:J   CCP 416.40 (association or partnership)         c:J       CCP 416.90 (authorized person)
                                                    c:J  other (specify):
                                      4.   c:J   by personal delivery on (date):
                                                                                                                                                           P• • 1 or 1
 Form AdoPled for M.lnda!OI)' Use                                                                                                  Code of CMI ~ " ' §§ ~ 12.20, 465 .
   Judidal Council of Caliromla
                                                                       SUMMONS
                                                                                                                                                  www.courtinfo.ca.gov
   SUl·,1-100 [Rev. July 1, 2009)
   Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.31 Page 24 of 30


                                                                                                                             SUM-200(A)
                                                                                                CASE UMBER:
    SHORT TITLE:
_ Perdue III. et.al. v. The Regents Of The University Of California, et.al.                     37-2020-00028645-CU-MM-CTL

                                                            INSTRUCTIONS FOR USE
   _. T is form may b used as an attachment to any summons if space does not permit the listing of all parties on the summons.
   _. If this attac ment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached .''

   List additional parties (Check only one box. Use a separate page for each type of party.):

     0         Plaintiff           D   Defendant    D   Cross-Complainant        Cross-Defendant
   a minor, by and through her Guardian Ad Litem, RICHARD PERDUE Ill, KEKOA KHAILA I
   MILLER-PERDUE, a minor, by and through his Guardian Ad Litem, RICHARD PERDUE [I) and
   KHAIELEE DALA I MI LLER-PERDUE.




                                                                                                                  Page      2    of       3
 Form Adopted for .1andatory Use
                                                                                                                                      Pav• 1 of 1
   Jud,oal Council 01 Cahfom ,a                    ADDITIONAL PARTIES ATTACHMENT
SUM-200(Al (Rev. January 1. 2007)                        Attachment to Summons
  Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.32 Page 25 of 30
                                                                    ,
                                                                                                                           SUM-200(A)
                                                                                               CASE NUMBER.
    SHORT TITLE:
_ Perdue III et.al. v. The Regents Of The University Of California, et.al.                      37-2020-00028645-CU-MM-CTL
                                                        INSTRUCTIONS FOR USE
   ...   is form may be used as an attachment to any summons if space does not permit the lis ing of all parties on the summons.
   _. If is attachme tis used. insert the following stateme tin the plaintiff or defendant box on the summons: "Additional Parties
        Attachment for          is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

      D        Plaintiff             0   Defendant ·   D   Cross-Complainant   D   Cross-Defendant
   legal entity specific fonn unknown, UCSD / UC SAN DIEGO HEALTH CENTER, legal entity, specific
   form unknm: n. SCRIPPS HEAL TH SYSTEM, a business entity. specific fonn unknown, E CI ITAS
   HOSPITAUST ASSOCIATES, a legal entity, specific form unknown, VISTA COMMUNITY CLINIC,
   a busine entity, specific forrn unknown MINH TRA DAO, M.D., MARK C. BEYER, P.A., AMY
   HUONG TRA , M.D., IAN GROVER, M.D., JOYCLENE GREEN, M.D. ROBERT F. CUBAS, M.D.
   JO J. ROTH, M.D.. ATHALIE KARIN CALLAHAN, P.A., ELlZABETH RODERICK. M.D.,
   EDUARDO L. GRU VALO, M.D., and DOES I through I00. inclusive,




                                                                                                               Page    3     of       3
                                                                                                                                  Page 1 of 1
 Form Adopted l0t  anda ory Use
   Judio.t Counol of Ca!ffom,a                     ADDITIONAL PARTIES ATTACHMENT
SU~ -200(A) [Rev January t . 2007]
                                                         Attachment to Summons
Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.33 Page 26 of 30


                                                                          ELECTRONICALLY FILED
                                                                           Superior Court of California,
                                                                              County of San Diego
     1   CARROLL, KELLY, TROTTER & FRANZEN
                                                                            04/02/2021 at 11 :24:□D PM
         RICHARD D. CAROLL, ESQ. (SBN: 116913)
     2   N. BEN CRAMER, ESQ. (SBN: 261767)                                  Clenc of the Superior Court
                                                                          By Nicole Adams, Deputy Cleric
         EDUARDO G. GONZALEZ, ESQ. (SBN: 323255)
     3   225 Broadway, Suite 1500
         San Diego, California 92101
     4   Telephone No. (619) 814-5900 / Facsimile No. (619) 814-5999

     5   Attorneys for Defendants, THE REGENTS OF THE UNIVERSITY OF CALIFORNIA EDUARDO
         GRUNVALD, M .D., ELIZABETH RODERICK, M.D. IAN GROVER, M.D. ROBERT F. CUBAS,
     6   M.D. AND JOYCELYN GREEN, M.D. (erroneously sued and served as JOYCLENE GREEN, M.D.)
         Governmental Entities and Employees of Governmental Entity; No Filing Fee Required Pursuant to Gov.
     7   Code§ 6103

     8
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
     9
                                     FOR THE COUNTY OF SAN DIEGO
    10

    11
         RICHARD PERDUE III, KEALANI MARIE CASE NO.: 37-2020-00028645-CU-MM-CTL
    12   MILLER-PERDUE, minor, by and through he
         Guardian Ad Litem, RICHARD PERDUE III, ASSIGNED FOR ALL PURPOSES TO:
    13   KEKOA KHAILANI MILLER-PERDUE,                JUDGE: GREGORY W POLLACK
         minor, by and through his Guardian Ad Litem, DEPARTMENT: C-71
    14   RICHARD PERDUE III and KHAIELEE
         DALANI MILLER-PERDUE,                        STIPULATION REGARDING DISMISSAL
    15                                                OF    EDUARDO      GRUNVALD, M.D.,
                                Plaintiffs,           ELIZABETH RODERICK, M.D. IAN
    16                                                GROVER, M.D. ROBERT F. CUBAS, M.D.
                vs.                                   AND JOYCELYN GREEN, M.D.      AND
    17                                                ORDER THEREON
         THE REGENTS OF THE UNIVERSITY OF
    18   CALIFORNIA, a legal entity, specific form Complaint Filed: 08/14/20
         unknown, UCSD/UC SAN DIEGO HEALTH Trial Date: Not Set
    19
         CENTER, legal entity, specific form unknown,
   20    SCRIPPS HEAL TH SYSTEM, a business entity,
         specific    form    unknown,      ENCINITAS
    21   HOSPITALIST ASSOCIATES, a legal entity,
         specific form unknown, VISTA COMMUNITY
    22   CLINIC, a business entity, specific form
         unknown, MINH TRAN DAO, M.D. , MARK C.
    23   BEYER, P .A ., AMY HUONG TRAN, M.D. , IAN
         GROVER, M.D. , JOYCLENE GREEN, M.D. ,
   24    ROBERT F. CUBAS, M.D., JON J. ROTH, M.D.
         NATHALIE KARIN, CALLAHAN, P.A.,
    25
         ELIZABETH RODERICK, M.D. EDUARDO L.
   26    GRUNVALD, M.D. and DOES 1-200, inclusive,

   27                               Defendants.

   28
                                                           1
             STIPULATION REGARDING DISMISSAL OF EDUARDO GRUNVALO, M.D., ELIZABETH
           RODERICK, M.D. IAN GROVER, M.D. ROBERT F. CUBAS, M.D. AND JOYCELYN GREEN, M.D.
                                       AND ORDER THEREON
Case 3:21-cv-01478-W-DEB Document 1-3 Filed 08/19/21 PageID.34 Page 27 of 30




                COME NOW plaintiffs, RICHARD PERDUE III, KEALANI MARIE MILLER-

     2   PERDUE, minor, by and through her Guardian Ad Litem, RICHARD PERDUE III, KEKOA

     3   KHAILANI MILLER-PERDUE, a minor, by and through his Guardian Ad Litem, RICHARD

     4   PERDUE III and KHAIELEE DALANI MILLER-PERDUE, by and through their attorneys of

     5   record, Richard M. Katz, Esq. of the Law Offices of Richard M. Katz. and Defendants EDUARDO

     6   GRUNVALD, M.D., ELIZABETH RODERICK, M.D., IAN GROVER, M.D., ROBERT F.

     7   CUBAS, M.D. AND JOYCELYN GREEN, M.D. (erroneously sued and served as JOYCLENE

     8   GREEN, M.D.) and THE REGENTS OF THE UNIVERSITY OF CALIFORNIA by and through

     9   their attorneys of record, N. Ben Cramer, Esq., of Carroll, Kelly, Trotter & Franzen, who hereby

    10   stipulate and agree as follows:

    11          1. EDUARDO GRUNVALD, M.D. was involved in the care of Irene Miller while he was

    12              a patient ofUCSD Medical Center in August of2019. At all times while providing care

    13              to Irene Miller, EDUARDO GRUNVALD, M.D, was an employee and/or agent of The

    14              Regents of the University of California, and was acting within the scope of that agency

    15              and employment;

    16          2. ELIZABETH RODERICK, M.D. was involved in the care of Irene Miller while he was

    17              a patient ofUCSD Medical Center in August of 2019. At all times while providing care

    18              to Irene Miller, ELIZABETH RODERICK, M.D. was an employee and/or agent of The

    19              Regents of the University of California, and was acting within the scope of that agency

   20               and employment;

   21           3. IAN GROVER, M.D. was involved in the care of Irene Miller while he was a patient

   22               ofUCSD Medical Center in August of 2019. At all times while providing care to Irene

   23               Miller, IAN GROVER, M.D., was an employee and/or agent of The Regents of the

   24               University of California, and was acting within the scope of that agency and

   25               employment;

   26           4. ROBERT F. CUBAS, M.D. was involved in the care of Irene Miller while he was a

   27               patient ofUCSD Medical Center in August of 2019. At all times while providing care

   28                                                     2
             STIPULATION REGARDING DISMISSAL OF EDUARDO GRUNVALD, M.D., ELIZABETH
           RODERICK, M.D. IAN GROVER, M.D. ROBERT F. CUBAS, M.D. AND JOYCELYN GREEN, M.D.
                                        AND ORDER THEREON
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     1          to Irene Miller, ROBERT F. CUBAS, M.D. was an employee and/or agent of The

     2          Regents of the University of California, and was acting within the scope of that agency

     3          and employment;

     4       5. JOYCELYN GREEN, M.D. was involved in the care of Irene Miller while he was a

     5          patient of UCSD Medical Center in August of 2019. At all times while providing care

     6          to Irene Miller, JOYCELYN GREEN, M.D. was an employee and/or agent of The

     7          Regents of the University of California, and was acting within the scope of that agency

     8          and employment;

     9       6. That Defendants EDUARDO GRUNVALD, M.D., ELIZABETH RODERICK, M.D.,

    10          IAN GROVER, M.D., ROBERT F. CUBAS, M.D. AND JOYCELYN GREEN, M.D.

    11          agree to waive all costs incurred, if any, and also agree to waive any future claims

    12          against Plaintiffs for malicious prosecution;

    13       7. That in the event any of the medical care and treatment rendered by Defendants

    14          EDUARDO GRUNVALD, M.D., ELIZABETH RODERICK, M.D., IAN GROVER,

    15          M.D., ROBERT F. CUBAS, M.D. AND JOYCELYN GREEN, M.D. to plaintiffs'

    16          decedent Irene Miller is found by the trier of fact to be professionally negligent or other

    17          culpable conduct responsible for the injuries and damages as alleged in the operative

    18          complaint, then Defendant -THE REGENTS                OF THE UNIVERSIRTY OF

    19          CALIFORNIA will be legally responsible/liable, vicariously or otherwise, for the

   20           injuries and general and special damages found to have been legally sustained by the

   21           plaintiffs as a result of said negligence or other culpable conduct;

   22        8. That Defendant THE REGENTS OF THE UNIVERSIRTY OF CALIFORNIA agrees

   23           to produce Defendants EDUARDO GRUNV ALD, M.D., ELIZABETH RODERICK,

   24           M.D., IAN GROVER, M.D., ROBERT F. CUBAS, M.D. AND JOYCELYN GREEN,

   25           M.D. for deposition and trial, upon request, without the necessity for subpoena and at

   26           Defendant THE REGENTS OF THE UNIVERSIRTY OF CALIFORNIA's expense or

   27           payment ofa witness fee, the same as if Defendants EDUARDO GRUNVALD, M.D.,

   28                                           3
           STIPULATION REGARDING DISMISSAL OF EDUARDO GRUNVALD, M.D., ELIZABETH
         RODERICK, M.D. IAN GROVER, M.D. ROBERT F. CUBAS, M.D. AND JOYCELYN GREEN, M.D.
                                     AND ORDER THEREON
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     1              ELIZABETH RODERICK, M.D. , IAN GROVER, M.D., ROBERT F. CUBAS, M.D.

     2              AND JOYCELYN GREEN, M.D. were a party to this action;

     3          9. This stipulation and dismissal with prejudice is not and cannot be construed as a

     4              favorable termination and shall not act as a retraxit as to Defendant THE REGENTS

     5              OF THE UNIVERSITY OF CALIFORNIA and/or Defendants EDUARDO

     6              GRUNVALD, M.D. , ELIZABETH RODERICK, M.D. , IAN GROVER, M.D. ,

     7              ROBERT F. CUBAS, M.D. AND JOYCELYN GREEN, M.D. or any other party or

     8              third person;

     9          10. That this stipulation will not act as a bar or an affirmative defense to any claims by

    10              plaintiffs of negligence or other wrongful acts against Defendants THE REGENTS OF

    11              THE UNIVERSITY OF CALIFORNIA and/or EDUARDO GRUNVALD, M.D.,

    12              ELIZABETH RODERICK, M.D., IAN GROVER, M.D. , ROBERT F. CUBAS, M.D.

    13              AND JOYCELYN GREEN, M.D. or any third party;

    14          11. That this stipulation will not act as a bar to having EDUARDO GRUNVALD, M.D.,

    15              ELIZABETH RODERICK, M.D., IAN GROVER, M.D. , ROBERT F. CUBAS, M.D.

    16              AND JOYCELYN GREEN, M.D. attend all aspects of the trial as if they are a named

    17              Defendant.

    18          12. In consideration of the above, plaintiffs will hereby dismiss Defendants EDUARDO

    19              GRUNVALD, M.D., ELIZABETH RODERICK, M.D., IAN GROVER, M.D. ,

   20               ROBERT F. CUBAS, M.D. AND JOYCELYN GREEN, M.D. from this action with

   21               prejudice.

   22           IT IS FURTHER STIPULATED that the parties may sign this Stipulation in counterparts,

   23    and each signed facsimile transmitted copy will be considered to be the same as an original.

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             STIPULATION REGARDING DISMISSAL OF EDUARDO GRUNV ALO, M.D., ELIZABETH
           RODERICK, M.D. IAN GROVER, M.D. ROBERT F. CUBAS, M.D. AND JOYCELYN GREEN, M.D.
                                       AND ORDER THEREON
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     1
         DATED: March 30, 2021                   CARROLL, KELLY, TROTTER & FRANZEN
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                                                 By:       ;/,1LC
                                                       RICHARD D. CARROLL
                                                       N. BEN CRAMER
     5                                                 EDUARDO G. GONZALEZ
                                                       Attorneys for Defendants
    6                                                  THE REGENTS OF THE UNIVERSITY OF
                                                       CALIFORNIA EDUARDO GRUNVALD,
    7                                                  M.D. , ELIZABETH RODERICK, M.D. IAN
                                                       GROVER, M.D. ROBERT F. CUBAS, M.D.
     8                                                 AND JOYCELYN GREEN, M.D.

    9
         DATED: March 30, 2021                   THE LAW OFFICES OF RICHARD M. KATZ
   10

   11
                                                 By:_ _ _ _ _ _ _ _ _ _ _ _ __
    12                                              RICHARD M. KATZ
                                                    HARLAN N. PETOYAN
   13                                               Attorneys for Plaintiffs
                                                    RICHARD PERDUE III, KEALANI MARIE
    14                                              MILLER-PERDUE, minor, by and through
                                                    her Guardian Ad Litem, RICHARD
    15                                              PERDUE       III,    KEKOA   KHAILANI
                                                    MILLER-PERDUE, a minor, by and through
    16                                              his Guardian Ad Litem, RICHARD PERDUE
                                                    III and KHAIELEE DALANI MILLER-
    17                                              PERDUE
    18

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   20

   21                                         ORDER

   22          GOOD CAUSE APPEARING THEREFORE, IT IS SO ORDERED.
   23

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   25                    4/7/21
                                                       GREGORY W POLLACK
   26                                                  WDGE OF THE SUPERIOR COURT
   27

   28                                             5
             STIPULATION REGARDING DISMISSAL OF EDUARDO GRUNV ALD, M.D., ELIZABETH
           RODERICK, M.D. IAN GROVER, M.D. ROBERT F. CUBAS, M.D. AND JOYCELYN GREEN, M.D.
                                       AND ORDER THEREON
